                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 BITUMINOUS CASUALTY                              )
 CORPORATION,                                     )
                                                  )
               Plaintiff,                         )
                                                  )
 v.                                               )      No.    3:09-CV-60
                                                  )             (VARLAN/SHIRLEY)
 WALDEN RESOURCES, LLC, AMWES                     )
 EXPLORATION, LLC, DANIEL POTTS,                  )
 ZTX DRILLING, LLC, JONATHAN D.                   )
 VANN, LEXINGTON INSURANCE                        )
 COMPANY, NATIONAL POLLUTION                      )
 FUNDS CENTER, UNITED STATES                      )
 ENVIRONMENTAL PROTECTION                         )
 AGENCY, WILD WELL CONTROL, INC.,                 )
 MARLOW VOLUNTEER FIRE                            )
 DEPARTMENT, SUPERIOR WELL                        )
 SERVICES, INC., GRIFFITH SERVICES                )
 LLC, BLOWOUT TOOLS, INC.,                        )
 MILLER PETROLEUM, INC., FAY                      )
 PORTABLE BUILDINGS, INC.,                        )
 B.J. SERVICES COMPANY,                           )
 L&D WELL SERVICE, EAST TENNESSEE                 )
 CONSTRUCTION, BRAD PENNINGTON,                   )
 ROBERT KELLY, DEBRA KELLY, AND                   )
 MICHAEL TRUMP,                                   )
                                                  )
               Defendants.                        )


                                          ORDER

        This civil action is before the Court on Plaintiff’s Motion for Entry of Order of

 Dismissal as to Defendant Fay Portable Buildings, Inc. (“Fay”) [Doc. 62]. Fay affirmatively

 states that it asserts no interest in the determinations requested in the complaint for

 declaratory judgment, interpleader, and permanent injunctive relief, and that it agrees that


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 it will not contest the declarations sought by plaintiff in the complaint for declaratory

 judgment, interpleader, and permanent injunctive relief. Consequently, plaintiff and Fay

 have agreed that Fay may be dismissed from this case without prejudice and need not

 participate further in this litigation.

        Based upon the representations contained herein, this Court hereby GRANTS

 plaintiff’s Motion for Entry of Order of Dismissal as to Defendant Fay Portable Buildings,

 Inc. [Doc. 62], and dismisses Fay from this matter upon the representations that it will claim

 no interest under the Declaratory Judgment Act and Federal Interpleader Act in the outcome

 of the determinations sought by Bituminous Casualty Corporation in the complaint for

 declaratory judgment, interpleader, and permanent injunctive relief.

        IT IS SO ORDERED.


                                            s/ Thomas A. Varlan
                                            UNITED STATES DISTRICT JUDGE




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